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                       IN IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   DISPLAY TECHNOLOGIES, LLC,

                         Plaintiff,
                                                       Civil Action No. 2:15-cv-998-JRG-JRP
                  v.
                                                            CONSOLIDATED LEAD CASE
   NVIDIA CORPORATION, et al.,
                                                             JURY TRIAL DEMANDED
                         Defendants.


                          JOINT NOTICE OF AGREED MEDIATOR

          Plaintiff Display Technologies LLC and Defendant Sony Computer Entertainment

  America, Inc. respectfully notify the Court that they have agreed upon the following mediator for

  this case:

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        DATED October 3, 2015.      Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 3rd day of October, 2015, I electronically filed the foregoing
  document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
  Division, using the electronic case filing system of the court. The electronic case filing system
  sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
  accept this Notice as service of this document by electronic means.

                                                /s/ Neal G. Massand
                                                   Neal G. Massand
